









Dismissed and Opinion filed March 13, 2003









&nbsp;

Dismissed and Opinion filed March 13, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-01346-CR

____________

&nbsp;

JASON
PAYNE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 272nd District Court

Brazos
County, Texas

Trial
Court Cause No. 02-00688-CRF-272

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp;
See Tex. R. App. P.
42.2.&nbsp; Because this Court has not
delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered and Opinion filed
March 6, 2003.

Panel consists of Justices Anderson,
Seymore, and Guzman.

Do not publish ‑ Tex. R. App. P. 47.2(b).

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